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 6

 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10    LINH HOANG, on behalf of himself and             Case No.:
      all others similarly situated,
11
                                                       CLASS ACTION
                                Plaintiff,
12
                      vs.                              CLASS ACTION COMPLAINT FOR:
13                                                     (1) Breach of Fiduciary Duties
      SUNWORKS, INC., CHARLES F.                       (2) Aiding and Abetting Breach of Fiduciary
14    CARGILE, DANIEL GROSS, JUDITH                        Duties
      HALL, RHONE RESCH, STANLEY                       (3) Violation of § 14(a) of the Securities
15    SPEER, THE PECK COMPANY                              Exchange Act of 1934
      HOLDINGS, INC., and PECK
16    MERCURY, INC.,                                   (4) Violation of § 20(a) of the Securities
                                                           Exchange Act of 1934
17                              Defendants.
                                                       DEMAND FOR JURY TRIAL
18
19          Plaintiff, Linh Hoang (“Plaintiff”), by his attorneys, on behalf of himself and those
20 similarly situated, files this action against the defendants, and alleges upon information and belief,

21 except for those allegations that pertain to him, which are alleged upon personal knowledge, as

22 follows:

23                                    SUMMARY OF THE ACTION
24          1.      Plaintiff brings this stockholder class action on behalf of himself and all other
25 public stockholders of Sunworks, Inc. (“Sunworks” or the “Company”), against Sunworks, the

26 Company’s Board of Directors (the “Board” or the “Individual Defendants,”), The Peck Company
27 Holdings, Inc. (“Parent”), Peck Mercury, Inc. (“Merger Sub,” and with Parent, “Peck, and

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 1 collectively with Sunworks and the Board, the “Defendants”), for violations of Sections 14(a) and

 2 20(a) of the Securities and Exchange Act of 1934 (the “Exchange Act”) and breaches of fiduciary

 3 duty as a result of Defendants’ efforts to sell the Company to Peck as a result of an unfair process

 4 for an unfair price, and to enjoin an upcoming stockholder vote on a proposed all stock transaction

 5 (the “Proposed Transaction”).

 6          2.     The terms of the Proposed Transaction were memorialized in an August 10, 2020,

 7 filing with the Securities and Exchange Commission (“SEC”) on Form 8-K attaching the definitive

 8 Agreement and Plan of Merger (the “Merger Agreement”). Under the terms of the Merger

 9 Agreement, Sunworks will become an indirect wholly-owned subsidiary of Peck, and Sunworks

10 stockholders will receive only 0.185171 shares of Peck common stock for every share of Sunworks

11 common stock they own, resulting in a merger consideration of approximately $0.80 per share of

12 Sunworks’ common stock based upon the closing price of Peck on August 7, 2020 of $4.33 per

13 share.    As a result of the Proposed Transaction, Sunworks shareholders will own only

14 approximately 36.54% of Peck.

15          3.     Thereafter, on October 1, 2020, Peck filed a Registration Statement on Form S-4

16 with the SEC in support of the Proposed Transaction, and which was later amended by Peck on

17 October 14, 2020 on Form S-4/A (the “Amended Registration Statement”).

18          4.     The dubious nature of the Proposed Transaction is laid bare considering the lack of
19 protections afforded Sunworks’ stockholders against fluctuations in Peck’s share price. Here, the

20 Merger Consideration is composed entirely of Peck common stock exchanged at a fixed exchange

21 ratio of 0.185171 which means that Sunworks stockholders will receive 0.185171 shares of Peck

22 common stock as a in exchange for each of their Sunworks shares, regardless of Peck’s stock price

23 at the close of the transaction. Thus, the consideration payable to Sunworks’ stockholders is not

24 insulated from fluctuations in Peck’s stock price, and stockholders are left in the precarious

25 position of not knowing whether the consideration payable to them will decline further.

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 1          5.      In addition, the Proposed Transaction is unfair and undervalued for a number of

 2 reasons. Significantly, the Amended Registration Statement describes an insufficient process in

 3 which did not create a “transaction committee.”

 4          6.      In approving the Proposed Transaction, the Individual Defendants have breached

 5 their fiduciary duties of loyalty, good faith, due care and disclosure by, inter alia, (i) agreeing to

 6 sell Sunworks without first taking steps to ensure that Plaintiff and Class members (defined below)

 7 would obtain adequate, fair and maximum consideration under the circumstances; and (ii)

 8 engineering the Proposed Transaction to benefit themselves and/or Peck without regard for

 9 Sunworks’ public stockholders. Accordingly, this action seeks to enjoin the Proposed Transaction

10 and compel the Individual Defendants to properly exercise their fiduciary duties to Sunworks’

11 stockholders.

12          7.      Next, it appears as though the Board has entered into the Proposed Transaction to

13 procure for themselves and senior management of the Company significant and immediate benefits

14 with no thought to the Company’s public stockholders. For instance, pursuant to the terms of the

15 Merger Agreement, upon the consummation of the Proposed Transaction, Company Board

16 Members and executive officers will be able to exchange all Company equity awards for the

17 merger consideration.

18          8.      In violation of the Exchange Act and in further violation of their fiduciary duties,
19 Defendants caused to be filed the materially deficient Amended Registration Statement on October

20 14, 2020 with the SEC in an effort to solicit stockholders to vote their Sunworks shares in favor of

21 the Proposed Transaction. The Amended Registration Statement is materially deficient, deprives

22 Sunworks’ stockholders of the information they need to make an intelligent, informed and rational

23 decision of whether to tender their shares in favor of the Proposed Transaction, and is thus in

24 breach of the Defendants’ fiduciary duties.        As detailed below, the Amended Registration

25 Statement omits and/or misrepresents material information concerning, among other things: (a)

26 the sales process and in particular certain conflicts of interest for management; (b) the financial
27 projections for Sunworks and Peck, provided by Sunworks to the Company’s financial advisor

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 1 Holthouse Carlin & Van Trigt LLP (“HCVT”); and (c) the data and inputs underlying the financial

 2 valuation analyses, if any, that purport to support the fairness opinions created by HCVT and

 3 provide to the Company and the Board.

 4          9.       Absent judicial intervention, the Proposed Transaction will be consummated,

 5 resulting in irreparable injury to Plaintiff and the Class. This action seeks to enjoin the Proposed

 6 Transaction or, in the event the Proposed Transaction is consummated, to recover damages

 7 resulting from violation of the federal securities laws by Defendants.

 8                                                PARTIES
 9          10.      Plaintiff is a citizen of Massachusetts and, at all times relevant hereto, has been a

10 Sunworks stockholder.

11          11.      Defendant Sunworks through its subsidiaries, provides photovoltaic based power

12 systems for the agricultural, commercial, industrial, public works, and residential markets in

13 California, Massachusetts, Nevada, Oregon, New Jersey, and Washington.                   Sunworks is

14 incorporated under the laws of the State of Delaware and has its principal place of business at 1030

15 Winding Creek Road, Suite 100, Roseville, CA 95678. Shares of Sunworks common stock are

16 traded on the NasdaqGS under the symbol “SUNW.”

17          12.      Defendant Charles F. Cargile ("Cargile") has been a Director of the Company at

18 all relevant times. In addition Cargile serves as the Company’s Chief Executive Officer and
19 Chairman of the Board.

20          13.      Defendant Daniel Gross (“Gross") has been a director of the Company at all

21 relevant times.

22          14.      Defendant Judith Hall ("Hall") has been a director of the Company at all relevant

23 times.

24          15.      Defendant Rhone Resch ("Resch") has been a director of the Company at all

25 relevant times.

26          16.      Defendant Stanley Speer ("Speer") has been a director of the Company at all
27 relevant times.

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 1          17.     Defendants identified in ¶¶ 12 - 16 are collectively referred to as the “Individual

 2 Defendants.”

 3          18.     Defendant Peck, operates as a solar engineering, construction, and procurement

 4 contractor for commercial and industrial customers in the Northeastern United States. Peck is

 5 incorporated under the laws of the State of Delaware and is headquartered at 4050 Williston Road,

 6 #511, South Burlington, VT 05403.

 7          19.     Defendant Merger Sub is a wholly owned subsidiary of Parent created to effectuate

 8 the Proposed Transaction.

 9                                    JURISDICTION AND VENUE
10          20.     This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

11 Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

12
     violations of Sections 14(e) and Section 20(a) of the Exchange Act. This action is not a collusive
13
     one to confer jurisdiction on a court of the United States, which it would not otherwise have.
14
            21.     Personal jurisdiction exists over each defendant either because the defendant
15
     conducts business in or maintains operations in this District, or is an individual who is either
16

17 present in this District for jurisdictional purposes or has sufficient minimum contacts with this

18 District as to render the exercise of jurisdiction over defendant by this Court permissible under
19 traditional notions of fair play and substantial justice.

20
            22.     Venue is proper in this District pursuant to 28 U.S.C. § 1391, because Sunworks
21
     has its principal place of business is located in this District, and each of the Individual Defendants,
22
     as Company officers or directors, has extensive contacts within this District.
23

24                                  CLASS ACTION ALLEGATIONS

25          23.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23,

26 individually and on behalf of the stockholders of Sunworks common stock who are being and will
27 be harmed by Defendants’ actions described herein (the “Class”). The Class specifically excludes

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 1 Defendants herein, and any person, firm, trust, corporation or other entity related to, or affiliated

 2 with, any of the Defendants.

 3          24.    This action is properly maintainable as a class action because:

 4                 a. The Class is so numerous that joinder of all members is impracticable.
 5                     According to the Company’s most recently filed 10-Q, as of August 6, 2020,
 6                     there were over 16.6 million shares of Sunworks common stock outstanding.
 7                     The actual number of public stockholders of Sunworks will be ascertained
 8                     through discovery;
 9                 b. There are questions of law and fact which are common to the Class, including
10                     inter alia, the following:
11                          i. Whether Defendants have violated the federal securities laws;
12                         ii. Whether Defendants made material misrepresentations and/or omitted
13                             material facts in the Amended Registration Statement; and
14                        iii. Whether Plaintiff and the other members of the Class have and will
15                             continue to suffer irreparable injury if the Proposed Transaction is
16                             consummated.
17                 c. Plaintiff is an adequate representative of the Class, has retained competent
18
                       counsel experienced in litigation of this nature and will fairly and adequately
19
                       protect the interests of the Class;
20
                   d. Plaintiff’s claims are typical of the claims of the other members of the Class
21
                       and Plaintiff does not have any interests adverse to the Class;
22

23                 e. The prosecution of separate actions by individual members of the Class would

24                     create a risk of inconsistent or varying adjudications with respect to individual
25                     members of the Class which would establish incompatible standards of conduct
26
                       for the party opposing the Class;
27

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 1                 f. Plaintiff anticipates that there will be no difficulty in the management of this

 2                     litigation and, thus, a class action is superior to other available methods for the
 3
                       fair and efficient adjudication of this controversy; and
 4
                   g. Defendants have acted on grounds generally applicable to the Class with respect
 5
                       to the matters complained of herein, thereby making appropriate the relief
 6
                       sought herein with respect to the Class as a whole.
 7

 8                   THE INDIVIDUAL DEFENDANTS’ FIDUCAIRY DUTIES

 9          25.    By reason of the Individual Defendants’ positions with the Company as officers
10 and/or directors, said individuals are in a fiduciary relationship with Sunworks and owe the

11 Company the duties of due care, loyalty, and good faith.

12          26.    By virtue of their positions as directors and/or officers of Sunworks, the Individual
13 Defendants, at all relevant times, had the power to control and influence, and did control and

14 influence and cause Sunworks to engage in the practices complained of herein.

15          27.    Each of the Individual Defendants are required to act with due care, loyalty, good
16 faith and in the best interests of the Company. To diligently comply with these duties, directors

17 of a corporation must:

18                 a. act with the requisite diligence and due care that is reasonable under the
19                     circumstances;
20                 b. act in the best interest of the company;
21                 c. use reasonable means to obtain material information relating to a given
22                     action or decision;
23                 d. refrain from acts involving conflicts of interest between the fulfillment
24                     of their roles in the company and the fulfillment of any other roles or
25                     their personal affairs;
26
27

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 1                 e. avoid competing against the company or exploiting any business

 2                      opportunities of the company for their own benefit, or the benefit of

 3                      others; and

 4                 f. disclose to the Company all information and documents relating to the

 5                      company’s affairs that they received by virtue of their positions in the

 6                      company.

 7          28.    In accordance with their duties of loyalty and good faith, the Individual

 8 Defendants, as directors and/or officers of Sunworks, are obligated to refrain from:

 9                 a.      participating in any transaction where the directors’ or officers’

10                 loyalties are divided;

11                 b.      participating in any transaction where the directors or officers are

12                 entitled to receive personal financial benefit not equally shared by the

13                 Company or its public stockholders; and/or

14                 c.      unjustly enriching themselves at the expense or to the detriment of

15                 the Company or its stockholders.

16          29.    Plaintiff alleges herein that the Individual Defendants, separately and together, in

17 connection with the Proposed Transaction, violated, and are violating, the fiduciary duties they

18 owe to Sunworks, Plaintiff and the other public stockholders of Sunworks, including their duties
19 of loyalty, good faith, and due care.

20          30.    As a result of the Individual Defendants’ divided loyalties, Plaintiff and Class

21 members will not receive adequate, fair or maximum value for their Sunworks common stock in

22 the Proposed Transaction.

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 1                                 SUBSTANTIVE ALLEGATIONS
 2 Company Background

 3          31.     Sunworks, through its subsidiaries, provides photovoltaic based power systems for

 4 the agricultural, commercial, industrial, public works, and residential markets in California,

 5 Massachusetts, Nevada, Oregon, New Jersey, and Washington.

 6          32.     The Company also designs, finances, integrates, installs, and manages systems

 7 ranging in size from 2 kilowatt for residential loads to multi megawatt systems for larger projects.

 8 In addition, it offers a range of installation services, including design, system engineering,

 9 procurement, permitting, construction, grid connection, warranty, system monitoring, and

10 maintenance services to its solar energy customers.

11          33.     The Company’s recent financial performance indicated optimism during a time of

12 worldwide health crisis. For example, in a May 7, 2020 press release announcing its Q1 financial

13 results, the Company highlighted revenue of $12.4 million compared to $9.3 million for the same

14 period the prior year. Defendant Cargile commented on these results, “We are fortunate to have

15 secured the $2.8 million PPP loan to bolster our cash position, and we are confident that a portion

16 will be forgiven under the criteria outlined by the SBA. We also anticipate benefiting from our

17 recent cost reduction actions, enabling us to effectively support the organization with lower

18 overhead. Once market conditions stabilize and we return to more normalized operations and
19 revenue, we expect that our lower cost structure will enable us to return to profitability and

20 generate positive cash flow from operations.”

21          34.     Despite this upward trajectory and increasing financial results, the Individual

22 Defendants have caused Sunworks to enter into the Proposed Transaction for insufficient

23 consideration.

24 The Flawed Sales Process

25          35.     As detailed in the Amended Registration Statement, the process deployed by the

26 Individual Defendants was flawed and inadequate, was conducted out of the self-interest of the
27 Individual Defendants.

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 1          36.    First, the Amended Registration Statement indicates that no transaction committee

 2 consisting of independent directors was created to run the sales process.

 3          37.    Next the Amended Registration Statement makes no mention as to why the

 4 Sunworks Board allowed the merger consideration to be composed of a fixed exchange ratio with

 5 no collar to protect the Company’s public stockholders from fluctuations in Peck’s price

 6          38.    Moreover, the Amended Registration Statement is also unclear as to any differences

 7 that may exist between the various non-disclosure agreements entered into between Sunworks and

 8 any of the interested third parties, including Peck, especially regarding standstill provisions

 9 contained therein and under what conditions, if any, such provisions would fall away.

10          39.    It is not surprising, given this background to the overall sales process, that it was

11 conducted in a completely inappropriate and misleading manner.

12 The Proposed Transaction

13          40.    On August 10, 2020, Peck and Sunworks issued a press release announcing the

14 Proposed Transaction. The press release stated, in relevant part:

15          SOUTH BURLINGTON, Vt. and ROSEVILLE, Calif., Aug. 10, 2020
            (GLOBE NEWSWIRE) -- The Peck Company Holdings, Inc. (NASDAQ: PECK)
16          ( “Peck”), a leading commercial solar engineering, procurement and construction
            (EPC) company and Sunworks, Inc. (NASDAQ: SUNW) (“Sunworks”), a provider
17
            of solar power solutions for agriculture, commercial and industrial (“ACI”), public
18          works and residential markets, today announced that they have entered into a
            deﬁnitive agreement under which Peck will acquire Sunworks in an all-stock
19          transaction, pursuant to which each share of Sunworks common stock will be
            exchanged for 0.185171 shares of Peck common stock (subject to certain
20          adjustments). Assuming no adjustments, Sunworks’ stockholders would receive an
            aggregate of approximately 3,079,207 shares of Peck common stock, representing
21
            approximately 36.54% of Peck common stock outstanding after the merger.
22
            Merger Rationale and Highlights
23
                   Combination creates a national leader with a coast-to-coast presence poised
24          to capitalize on significant cost synergies.
25
                  Improves scale and strengthens national presence, with pro forma revenue
26          of $88 million if the companies had been combined in 2019, and a combined
            backlog of $76.8 million if the companies had been combined as of June 30, 2020.
27

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 1           Management has identified approximately $6 million in anticipated
      annualized cost synergies, including supply chain management leverage, redundant
 2    public company costs and various operating expenses.
 3
              The transaction is expected to be accretive to earnings and free cash ﬂow
 4    after integration synergies have been implemented.

 5          Combined company will have significantly expanded addressable market to
      leverage Sunworks’ core capabilities in agriculture and public works.
 6
             Combination leverages Peck’s strategic partnership with GreenBond
 7
      Advisors to provide project development and financing to fuel growth and solar
 8    project ownership improving the conversion of Sunworks’ pipeline and expanding
      its addressable market.
 9
            Peck and Sunworks installed a combined 62,973kW in 2019, which would
10    rank 41st overall and would be the 16th largest EPC contractor based on the latest
11    Sun Power World ranking list.

12    Management Commentary

13    Jeffrey Peck, Chairman of the Board and Chief Executive Officer of Peck,
      commented, “This is a transformational combination, leveraging the respective
14    strengths of the two organizations and creating a national leader in the fast-growing
15    and resilient solar energy industry. It provides Peck expansion, scale, an enhanced
      financial profile and a stronger platform from which we can continue to build more
16    solar projects. Our integration with Sunworks will extend our presence to the west
      coast and broaden our offerings to agriculture and public works. The transaction
17    solidifies our three-pronged growth strategy that we announced a year ago when
      we listed on Nasdaq through a SPAC merger. Since we have been public, we (1)
18    delivered organic growth of revenue from $16 million to $28 million in the first
19    year, (2) partnered with GreenBond Advisors to access capital that provides EPC
      revenue as well as asset ownership in the solar projects we build for the partnership,
20    and now (3) we are delivering on the third prong of our strategy with an exciting
      accretive acquisition. We have been focused on executing these important
21    initiatives for our shareholders and expect the acquisition of Sunworks to provide
      many more opportunities for long term growth and profitability.”
22

23    Chuck Cargile, Chairman of the Board and Chief Executive Officer of Sunworks,
      added, “By joining with Peck, our vision for spreading clean solar energy
24    throughout the U.S. is amplified and expanded. Peck has demonstrated the ability
      to grow revenue and maintain profitability, and we believe that the combination of
25    our teams, customers, projects and partners will materially accelerate revenue
      growth and earnings. Peck’s strong partnership with GreenBond Advisors will
26
      allow us to offer financing to a broader range of customers and increase our
27    addressable market. Additionally, our expanded scale will enable us to source solar

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 1          panels and equipment through Peck’s established relationships at lower costs,
            benefiting our profit margins. Being part of Peck’s platform is exciting, and in the
 2          best interest of Sunworks shareholders, customers, business partners and
            employees.”
 3

 4          Transaction Details

 5          The transaction is expected to close during the fourth quarter of 2020, subject to
            approval by shareholders of both companies and other customary closing
 6          conditions.
 7
            The Board of Directors of Peck and Sunworks have each unanimously voted in
 8          favor of the definitive transaction agreement.

 9          As part of the agreement, after the transaction closes, Jeff Peck will continue as
            Chairman of the Board and Chief Executive Officer of the combined company. The
10          Board of Directors of the combined company will be comprised of four members
11          of the Peck Board of Directors and three members appointed by the Sunworks
            Board of Directors. Because the combined company will be in competition with
12          SunPower Corporation in some markets, Doug Rose, who is also a Vice President
            at SunPower Corporation, has resigned from the Board of Directors of Peck to
13          avoid conflicts of interests.
14          Roth Capital will be acting as ﬁnancial advisor to Peck and Merritt and Merritt is
15          serving as its legal counsel.

16          Holthouse Carlin & Van Trigt LLP is acting as ﬁnancial advisor to Sunworks and
            Stradling Yocca Carlson & Rauth, P.C. is acting as its legal counsel
17
     The Inadequate Merger Consideration
18
            41.    Significantly, the Company’s financial prospects, opportunities for future growth,
19
     and investment in innovation establish the inadequacy of the merger consideration.
20
            42.    First, the compensation afforded under the Proposed Transaction to Company
21
     stockholders significantly undervalues the Company. The proposed valuation does not adequately
22
     reflect the intrinsic value of the Company. Moreover, the valuation does not adequately take into
23
     consideration how the Company is performing, considering key financial improvements of the
24
     Company in recent times.
25
            43.    Moreover, Company stockholders will see their voting power diluted significantly
26
     as they transition to stockholders of Peck, their ownership share in the surviving entity being
27

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 1 significantly smaller than their current holdings, thus shrinking any future benefit from their

 2 investment in Sunworks.

 3          44.     It is clear from these statements and the facts set forth herein that this deal is

 4 designed to maximize benefits for Peck at the expense of Sunworks stockholders, which clearly

 5 indicates that Sunworks stockholders were not an overriding concern in the formation of the

 6 Proposed Transaction.

 7 Preclusive Deal Mechanisms

 8          45.     The Merger Agreement contains certain provisions that unduly benefit Peck by

 9 making an alternative transaction either prohibitively expensive or otherwise impossible. Notably,

10 in the event of termination, the merger agreement requires Sunworks to pay up to $375,000 to

11 Peck, if the Merger Agreement is terminated under certain circumstances. The termination fee

12 will make the Company that much more expensive to acquire for potential purchasers. The

13 termination fee in combination with other preclusive deal protection devices will all but ensure

14 that no competing offer will be forthcoming.

15          46.     The Merger Agreement also contains a “No Solicitation” provision that restricts

16 Sunworks from considering alternative acquisition proposals by, inter alia, constraining

17 Sunworks’ ability to solicit or communicate with potential acquirers or consider their proposals.

18 Specifically, the provision prohibits the Company from directly or indirectly soliciting, initiating,
19 proposing or inducing any alternative proposal, but permits the Board to consider an unsolicited

20 bona fide “Takeover Proposal” if it constitutes or is reasonably calculated to lead to a “Superior

21 Proposal” as defined in the Merger Agreement.

22          47.     Moreover, the Merger Agreement further reduces the possibility of a topping offer

23 from an unsolicited purchaser.        Here, the Individual Defendants agreed to provide Peck

24 information in order to match any other offer, thus providing Peck access to the unsolicited

25 bidder’s financial information and giving Peck the ability to top the superior offer. Thus, a rival

26 bidder is not likely to emerge with the cards stacked so much in favor of Peck.
27

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 1             48.         These provisions, individually and collectively, materially and improperly impede

 2 the Board’s ability to fulfill its fiduciary duties with respect to fully and fairly investigating and

 3 pursuing other reasonable and more valuable proposals and alternatives in the best interests of the

 4 Company and its public stockholders.

 5             49.         Accordingly, the Company’s true value is compromised by the consideration

 6 offered in the Proposed Transaction.

 7 Potential Conflicts of Interest

 8             50.         The breakdown of the benefits of the deal indicate that Sunworks’ insiders are the

 9 primary beneficiaries of the Proposed Transaction, not the Company’s public stockholders. The

10 Board and the Company’s executive officers are conflicted because they will have secured unique

11 benefits for themselves from the Proposed Transaction not available to Plaintiff and the public

12 stockholders of Sunworks.

13             51.         Certain insiders stand to receive massive financial benefits as a result of the

14 Proposed Transaction. Notably, Company insiders, including the Individual Defendants, currently

15 own large, illiquid portions of Company stock that will be exchanged for large cash pay days upon

16 the consummation of the Proposed Transaction.                 Notably, while the Amended Registration

17 Statement provides an accounting of Company stock ownership of the Board, Management, and

18 other Company insiders, as follows, it does not provide a proper accounting for how much
19 consideration these stock holdings will be converted to upon the consummation of the Proposed

20 Transaction.

21                                                                                                     Percentage of
                                                                                                       Outstanding
22                                                                                  Number of Shares      Shares
                                                                                      Beneficially      Beneficially
     Name of Beneficial Owner(1)                                                       Owned(2)          Owned(3)
23
     Paul McDonnel(4)                                                              7,825               0.0%
24 Charles Cargile(5)                                                              107,112             0.6%

25 Rhone Resch(6)                                                                  14,283              0.1%
     Daniel Gross    (7)                                                           9,910               0.1%
26
     Stanley Speer(8)                                                              9,636               0.1%
27 Judith Hall(9)                                                                  2,776               0.0%

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 1 Steven Chan                                                                 —               —
                                                                               151,542         0.9%
 2 All officers and directors as a group (7 persons)

 3
             52.     Furthermore, upon the consummation of the Proposed Transaction, each
 4
     outstanding Company option or equity award, will be canceled and converted into the right to
 5
     receive certain consideration according to the merger agreement.           Notably, the Amended
 6
     Registration Statement does not provide a proper accounting of the Company equity award
 7
     holdings of the Board, Management, and other Company insiders, nor does it provide a proper
 8
     accounting for how much consideration these equity award holdings will be converted to upon the
 9
     consummation of the Proposed Transaction.
10
             53.     Moreover, at least one Company insider, Paul McDonnel, is entitled to “golden
11
     parachute” awards should his employment with the Company be terminated due to a change-in-
12
     control, as would result from the consummation of the Proposed Transaction. Notably, the
13
     Amended Registration Statement does not provide a proper accounting of such payouts.
14
             54.     The Amended Registration Statement also indicates that at least one Sunworks
15
     Director will continue on in that capacity with the surviving Company but fails to disclose proper
16
     information regarding said future employment.          Post-transaction employment during the
17
     negotiation of the underlying transaction must be disclosed to stockholders. Communications
18
     regarding post-transaction employment during the negotiation of the underlying transaction must
19
     be disclosed to stockholders. This information is necessary for stockholders to understand potential
20
     conflicts of interest of management and the Board, as that information provides illumination
21
     concerning motivations that would prevent fiduciaries from acting solely in the best interests of
22
     the Company’s stockholders
23
             55.     Thus, while the Proposed Transaction is not in the best interests of Sunworks
24
     stockholders, it will produce lucrative benefits for the Company’s officers and directors.
25
     The Materially Misleading and/or Incomplete Amended Registration Statement
26
             56.     On October 14, 2020, the Defendants caused to be filed with the SEC a materially
27
     misleading and incomplete Amended Registration Statement that, in violation their fiduciary
28

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 1 duties, failed to provide the Company’s stockholders with material information and/or provides

 2 them with materially misleading information critical to the total mix of information available to

 3 the Company’s stockholders concerning the financial and procedural fairness of the Proposed

 4 Transaction.

 5         Omissions and/or Material Misrepresentations Concerning the Sales Process Leading up

 6         to the Proposed Transaction

 7         57.     The Amended Registration Statement fails to provide material information

 8 concerning the process conducted by the Company and the events leading up to the Proposed

 9 Transaction. In particular, the Amended Registration Statement fails to disclose:

10                 a. The specific reasoning as to why no transaction committee of disinterested

11                    directors was created to run the sales process;

12                 b. Adequate information regarding the specific reasoning as to why the Sunworks

13                    Board allowed the merger consideration to be composed of a fixed exchange

14                    ratio with no collar to protect the Company’s public stockholders from

15                    fluctuations in Peck’s price

16                 c. The Amended Registration Statement is unclear as to any differences that may

17                    exist between the various non-disclosure agreements entered into between

18                    Sunworks and any of the interested third parties, including Peck, especially
19                    regarding standstill provisions contained therein and under what conditions, if

20                    any, such provisions would fall away; and

21                 d. Communications      regarding    post-transaction   employment     during   the

22                    negotiation of the underlying transaction must be disclosed to stockholders.

23                    This information is necessary for stockholders to understand potential conflicts

24                    of interest of management and the Board, as that information provides

25                    illumination concerning motivations that would prevent fiduciaries from acting

26                    solely in the best interests of the Company’s stockholders;
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 1          Omissions and/or Material Misrepresentations Concerning Sunworks’ and Peck’s

 2          Financial Projections

 3          58.    The Amended Registration Statement fails to provide material information

 4 concerning financial projections provided by Sunworks’ and Peck’s management and relied upon

 5 by HCVT in its analyses. The Amended Registration Statement fails to disclose and/or discloses

 6 management-prepared financial projections for the Company which are materially misleading.

 7 The Amended Registration Statement indicates that in connection with the rendering of HCVT’s

 8 fairness opinions, HCVT reviewed “certain information relating to the historical, current and

 9 future operations, financial condition and prospects of Sunworks and Peck including, and in the

10 case of Sunworks, internal financial projections (and adjustments thereto) prepared by the

11 management of Sunworks relating to Sunworks for the fiscal years ending 2020 through 2025 and

12 cash flow projections for the 13 weeks through October 18, 2020.”

13          59.    Courts have uniformly stated that “projections … are probably among the most

14 highly-prized disclosures by investors. Investors can come up with their own estimates of discount

15 rates or […] market multiples. What they cannot hope to do is replicate management’s inside view

16 of the company’s prospects.” In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203

17 (Del. Ch. 2007)

18          60.    Notably the Amended Registration Statement fails to provide any projection
19 information at all for either Sunworks or Peck, making it impossible for Sunworks’ stockholders

20 to effectively gauge either the future value of their current Sunworks shares or the future value of

21 the Peck shares they stand to receive as merger consideration should the Proposed Transaction be

22 consummated.

23          61.    Without accurate projection data presented in the Amended Registration Statement,

24 Plaintiff and other stockholders of Sunworks are unable to properly evaluate the Company’s true

25 worth, the accuracy of HCVT’s financial analyses, or make an informed decision whether to vote

26 their Company stock in favor of the Proposed Transaction. As such, the Board has breached their
27 fiduciary duties by failing to include such information in the Amended Registration Statement.

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 1          Omissions and/or Material Misrepresentations Concerning the Financial Analyses by

 2          HCVT

 3          62.    In the Amended Registration Statement, HCVT describes its respective fairness

 4 opinion and the various valuation analyses performed to render such opinion. However, the

 5 descriptions fail to include necessary underlying data, support for conclusions, or the existence of,

 6 or basis for, underlying assumptions. Without this information, one cannot replicate the analyses,

 7 confirm the valuations or evaluate the fairness opinions.

 8          63.    With respect to the Discounted Cash Flow Analysis, the Amended Registration

 9 Statement fails to disclose the following:

10                 a. The financial projections of Sunworks for years 2020 through 2025, including

11                     each year of unlevered free cash flow and the underlying line items thereto;

12                 b. The specific inputs and assumptions used to calculate the discount rate range of

13                     11.0% to 13.0%; and

14                 c. The specific inputs and assumptions used to apply an EBTIDA exit multiple

15                     ranging from 4.0x to 5.0x.

16          64.    With respect to the Selected Precedent M&A Transactions Analysis the Amended

17 Registration Statement fails to disclose the following:

18
                   a. The specific inputs, assumptions, and basis used to apply the range of multiples
19
                       of 0.15x to 0.20x.
20
                   b. The date on when each selected transaction closed;
21
                   c. The aggregate value of each selected transaction;
22

23                 d. The specific reasoning for selecting each precedent transaction.

24          65.    The Amended Registration Statement also fails to disclose HCVT’s quality of
25 earnings analysis on Peck.

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 1          66.    Finally the Amended Registration Statement fails to provide information relating

 2 to HCVT’s prior relationships, if any, with either of Sunworks, Peck, or any affiliated entities

 3 thereto.

 4          67.    These disclosures are critical for stockholders to be able to make an informed

 5 decision on whether to tender their shares in favor of the Proposed Transaction.

 6          68.    Without the omitted information identified above, Sunworks public stockholders

 7 are missing critical information necessary to evaluate whether the proposed consideration truly

 8 maximizes stockholder value and serves their interests. Moreover, without the key financial

 9 information and related disclosures, Sunworks public stockholders cannot gauge the reliability of

10 the fairness opinion and the Board’s determination that the Proposed Transaction is in their best

11 interests. As such, the Board has breached their fiduciary duties by failing to include such

12 information in the Amended Registration Statement.

13                                            FIRST COUNT
14                                Claim for Breach of Fiduciary Duties
15                                (Against the Individual Defendants)
16          69.    Plaintiff repeats all previous allegations as if set forth in full herein.

17          70.    The Individual Defendants have violated their fiduciary duties of care, loyalty and

18 good faith owed to Plaintiff and the Company’s public stockholders.
19          71.    By the acts, transactions and courses of conduct alleged herein, Defendants,

20 individually and acting as a part of a common plan, are attempting to unfairly deprive Plaintiff and

21 other members of the Class of the true value of their investment in Sunworks.

22          72.    As demonstrated by the allegations above, the Individual Defendants failed to

23 exercise the care required, and breached their duties of loyalty and good faith owed to the

24 stockholders of Sunworks by entering into the Proposed Transaction through a flawed and unfair

25 process and failing to take steps to maximize the value of Sunworks to its public stockholders.

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 1           73.    Indeed, Defendants have accepted an offer to sell Sunworks at a price that fails to

 2 reflect the true value of the Company, thus depriving stockholders of the reasonable, fair and

 3 adequate value of their shares.

 4           74.    Moreover, the Individual Defendants breached their duty of due care and candor by

 5 failing to disclose to Plaintiff and the Class all material information necessary for them to make

 6 an informed decision on whether to tender their shares in favor of the Proposed Transaction.

 7           75.    The Individual Defendants dominate and control the business and corporate affairs

 8 of Sunworks, and are in possession of private corporate information concerning Sunworks’s assets,

 9 business and future prospects. Thus, there exists an imbalance and disparity of knowledge and

10 economic power between them and the public stockholders of Sunworks which makes it inherently

11 unfair for them to benefit their own interests to the exclusion of maximizing stockholder value.

12           76.    By reason of the foregoing acts, practices and course of conduct, the Individual

13 Defendants have failed to exercise due care and diligence in the exercise of their fiduciary

14 obligations toward Plaintiff and the other members of the Class.

15           77.    As a result of the actions of the Individual Defendants, Plaintiff and the Class will

16 suffer irreparable injury in that they have not and will not receive their fair portion of the value of

17 Sunworks’ assets and have been and will be prevented from obtaining a fair price for their common

18 stock.
19           78.    Unless the Individual Defendants are enjoined by the Court, they will continue to

20 breach their fiduciary duties owed to Plaintiff and the members of the Class, all to the irreparable

21 harm of the Class.

22           79.    Plaintiff and the members of the Class have no adequate remedy at law. Only

23 through the exercise of this Court’s equitable powers can Plaintiff and the Class be fully protected

24 from the immediate and irreparable injury which Defendants’ actions threaten to inflict.

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 1                                            SECOND COUNT
 2                    Aiding and Abetting the Board’s Breaches of Fiduciary Duty
 3                         Against Defendant Sunworks, Peck, and Merger Sub
 4           80.     Plaintiff incorporates each and every allegation set forth above as if fully set forth

 5 herein.

 6           81.     Defendants Sunworks, Peck, and Merger Sub knowingly assisted the Individual

 7 Defendants’ breaches of fiduciary duty in connection with the Proposed Acquisition, which,

 8 without such aid, would not have occurred.

 9           82.     As a result of this conduct, Plaintiff and the other members of the Class have been

10 and will be damaged in that they have been and will be prevented from obtaining a fair price for

11 their shares.

12           83.     Plaintiff and the members of the Class have no adequate remedy at law.

13                                              THIRD COUNT
14                            Violations of Section 14(a) of the Exchange Act
15                                         (Against All Defendants)
16           84.     Plaintiff repeats all previous allegations as if set forth in full herein.

17           85.     Defendants have disseminated the Amended Registration Statement with the

18 intention of soliciting unitholders to vote their shares in favor of the Proposed Transaction.
19           86.     Section 14(a) of the Exchange Act requires full and fair disclosure in connection

20 with the Proposed Transaction. Specifically, Section 14(a) provides that:

21           It shall be unlawful for any person, by the use of the mails or by any means or

22           instrumentality of interstate commerce or of any facility of a national securities

23           exchange or otherwise, in contravention of such rules and regulations as the [SEC]

24           may prescribe as necessary or appropriate in the public interest or for the protection

25           of investors, to solicit or to permit the use of her name to solicit any proxy or

26           consent or authorization in respect of any security (other than an exempted security)
27           registered pursuant to section 78l of this title.

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 2          87.     As such, SEC Rule 14a-9, 17 C.F.R. 240.14a-9, states the following:

 3          No solicitation subject to this regulation shall be made by means of any proxy

 4          statement, form of proxy, notice of meeting or other communication, written or

 5          oral, containing any statement which, at the time and in the light of the

 6          circumstances under which it is made, is false or misleading with respect to any

 7          material fact, or which omits to state any material fact necessary in order to make

 8          the statements therein not false or misleading or necessary to correct any statement

 9          in any earlier communication with respect to the solicitation of a proxy for the same

10          meeting or subject matter which has become false or misleading.

11          88.     The Amended Registration Statement was prepared in violation of Section 14(a)

12 because it is materially misleading in numerous respects and omits material facts, including those

13 set forth above. Moreover, in the exercise of reasonable care, Defendants knew or should have

14 known that the Amended Registration Statement is materially misleading and omits material facts

15 that are necessary to render them non-misleading.

16          89.     The Individual Defendants had actual knowledge or should have known of the

17 misrepresentations and omissions of material facts set forth herein.

18          90.     The Individual Defendants were at least negligent in filing the Amended
19 Registration Statement that was materially misleading and/or omitted material facts necessary to

20 make the Amended Registration Statement not misleading.

21          91.     The misrepresentations and omissions in the Amended Registration Statement are

22 material to Plaintiff and the Class, and Plaintiff and the Class will be deprived of its entitlement to

23 decide whether to vote its shares in favor of the Proposed Transaction on the basis of complete

24 information if such misrepresentations and omissions are not corrected prior to the unitholder vote

25 regarding the Proposed Transaction.

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 1                                           FOURTH COUNT
 2                           Violations of Section 20(a) of the Exchange Act
 3                                  (Against All Individual Defendants)
 4          92.     Plaintiff repeats all previous allegations as if set forth in full herein.

 5          93.     The Individual Defendants were privy to non-public information concerning the

 6 Company and its business and operations via access to internal corporate documents, conversations

 7
     and connections with other corporate officers and employees, attendance at management and
 8
     Board meetings and committees thereof and via reports and other information provided to them in
 9
     connection therewith. Because of their possession of such information, the Individual Defendants
10
     knew or should have known that the Amended Registration Statement was materially misleading
11

12 to Company stockholders.

13          94.     The Individual Defendants were involved in drafting, producing, reviewing and/or
14 disseminating the materially false and misleading statements complained of herein. The Individual

15
     Defendants were aware or should have been aware that materially false and misleading statements
16
     were being issued by the Company in the Amended Registration Statement and nevertheless
17
     approved, ratified and/or failed to correct those statements, in violation of federal securities laws.
18
19 The Individual Defendants were able to, and did, control the contents of the Amended Registration

20 Statement. The Individual Defendants were provided with copies of, reviewed and approved,

21 and/or signed the Amended Registration Statement before its issuance and had the ability or

22 opportunity to prevent its issuance or to cause it to be corrected.

23
            95.     The Individual Defendants also were able to, and did, directly or indirectly, control
24
     the conduct of Sunworks’s business, the information contained in its filings with the SEC, and its
25
     public statements. Because of their positions and access to material non-public information
26
27 available to them but not the public, the Individual Defendants knew or should have known that

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 1 the misrepresentations specified herein had not been properly disclosed to and were being

 2 concealed from the Company’s stockholders and that the Amended Registration Statement was

 3
     misleading. As a result, the Individual Defendants are responsible for the accuracy of the
 4
     Amended Registration Statement and are therefore responsible and liable for the
 5
     misrepresentations contained herein.
 6
            96.     The Individual Defendants acted as controlling persons of Sunworks within the
 7

 8 meaning of Section 20(a) of the Exchange Act. By reason of their position with the Company, the

 9 Individual Defendants had the power and authority to cause Sunworks to engage in the wrongful

10 conduct complained of herein. The Individual Defendants controlled Sunworks and all of its

11 employees. As alleged above, Sunworks is a primary violator of Section 14 of the Exchange Act

12 and SEC Rule Amended Registration Statement. By reason of their conduct, the Individual

13 Defendants are liable pursuant to section 20(a) of the Exchange Act.
            WHEREFORE, Plaintiff demands injunctive relief, in its favor and in favor of the Class,
14

15 and against the Defendants, as follows:
          A.      Ordering that this action may be maintained as a class action and certifying Plaintiff
16

17          as the Class representatives and Plaintiff’s counsel as Class counsel;

18          B.      Enjoining the Proposed Transaction;
19          C.      In the event Defendants consummate the Proposed Transaction, rescinding it and
20
            setting it aside or awarding rescissory damages to Plaintiff and the Class;
21
            D.      Declaring and decreeing that the Merger Agreement was agreed to in breach of the
22
            fiduciary duties of the Individual Defendants and is therefore unlawful and unenforceable;
23

24          E.      Directing the Individual Defendants to exercise their fiduciary duties to commence

25          a sale process that is reasonably designed to secure the best possible consideration for

26          Sunworks and obtain a transaction which is in the best interests of Sunworks and its
27          stockholders;
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